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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11     THE ESTATE OF RUBEN NUNEZ by                       Case No.: 3:16-cv-01412-BEN-MDD
       and through its successor-in-interest
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       LYDIA NUNEZ, ALBERT NUNEZ, and                     ORDER GRANTING JOINT
13     LYDIA NUNEZ,                                       MOTION TO DISMISS
14                                      Plaintiffs,
15     v.
16     COUNTY OF SAN DIEGO, et al,
17                                    Defendants.
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19          The Court has reviewed the joint motion to dismiss filed by Plaintiffs and
20    Defendants County of San Diego, William Gore, Alfred Joshua, Rogel Tingzo, and Paul
21    Bell (“Moving Defendants”). (Docket No. 269.) Good cause appearing, the joint motion
22    is GRANTED. The Moving Defendants are DISMISSED with prejudice from the
23    action. Each party shall bear its own costs and fees.
24          IT IS SO ORDERED.
25    Dated: May 16, 2018
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